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                      Case 1:21-cv-03959-SDG-JCF Document 1-1 Filed 09/24/21 Page Fulton
                                                                                  40 of County
                                                                                         49    Superior Court
                                                                                                                                               ***EFILED***AR
                                                                                                                                       Date: 9/8/2021 1:08 PM
                                                                                                                                     Cathelene Robinson, Clerk
                                                                  AFFIDAVIT OF SERVICE

                                                    IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                                                      136 PRYOR STREET, ROOM 6-103, ATLANTA, GEORGIA 30303


             Marie Salas                                                                         Case No.12021CV353274
                                                                                                 Alexander Cyclone Covey, Esq. 190747
                                   Plaintiff(s)                                                  KNEUPPER & COVEY PC
                              v.                                                                 4475 Peachtree Lakes Dr
                                                                                                 Berkeley Lake, GA 30096
             Statebridge Company, LLC. et al.                                                    (678) 596-6008
                                                                                                 Client File# Salas v. Statebridge
                                   Defendant(s)


                       The undersigned, being ﬁrst duly sworn on oath deposes and says: That he/she is now and at all times herein mentioned was a
            citizen of the United States, over the age of eighteen years, not a party to or interested in the above entitled action and competent to
            be a witness therein.

                      That on 8/25/2021 at 11:10 AM at the address of 1209 N Orange St, Wilmington, within New Castle County, DE, the
            undersigned duly served the following document(s): Summons; Addendum to Summons; Veriﬁed Complaint for Damages & Equitable
            Relief; General Civil and Domestic Relations Case Filing Information Form in the above entitled action upon DSV SPV3 LLC, by then
            and there personally delivering true and correct set(s) of the above documents into the hands of and leaving same with National Registered
            Agents, Inc., Registered Agent - By serving Amy McLaren, Intake Specialist.

            Physical description of person served: Gender: Female Race: Caucasian Age: 35 Height: 5'6" l Weight: 130 Hair: Brown
                                                                    |                  |          |                         |




           I declare under penalty of perjury under the laws of the state of that the foregoing is true and correct.




      That the fee for this Service is $ 138.00

                                                                                                           /
                                                                                                                                       8/25/2021
                                                                           2-1
                                                                                             Denorris Britt
                                                                                             Contracted by Nationwide Legal, LLC
                                                                                             901 W. Civic Center Drive, Suite# 190
                                                                                             Santa Ana, CA 92703
                                                                                             (714) 558-2400                          Order #:0C69048
                                                                                                                         Their File Salas v. Statebridge




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                                                                                                                                      Cathelene Robinson, Clerk
                                                                   AFFIDAVIT OF SERVICE

                                                   IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                                                     136 PRYOR STREET, ROOM C-103, ATLANTA, GEORGIA 30303


             Marie Salas                                                                          Case No.:2021CV353274
                                                                                                  Alexander Cyclone Covey, Esq. 190747
                                    Plaintiff(s)                                                  KNEUPPER & COVEY PC
                               v.                                                                 4475 Peachtree Lakes Dr
                                                                                                  Berkeley Lake, GA 30096
             Statebridge Company, LLC. et al.                                                     (678) 596-6008
                                                                                                  Client File# Salas v. Statebridge
                                    Defendant(s)


                       The undersigned, being ﬁrst duly sworn on oath deposes and says: That he/she is now and at all times herein mentioned was a
            citizen of the United States, over the age of eighteen years, not a party to or interested in the above entitled action and competent to
            be a witness therein.
                      That on 8/25/2021 at 11:10 AM at the address of 1209 N Orange St, Wilmington, within New Castle County, DE, the
            undersigned duly served the following document(s): Summons; Addendum to Summons; Veriﬁed Complaint for Damages & Equitable
            Relief; General Civil and Domestic Relations Case Filing Information Form in the above entitled action upon RVFM ll Series LLC, by
            then and there personally delivering true and correct set(s) of the above documents into the hands of and leaving same with National
            Registered Agents, Inc., Registered Agent - By serving Amy McLaren, Intake Specialist.


            Physical description of person served: Gender: Female Race: Caucasian Age: 35 Height: 5'6" Weight: 130 Hair: Brown
                                                                     [                  |          |             |           |




            I declare under penalty of perjury under the laws of the state of that the foregoing is true and correct.
                                       z




      That the fee for this Service is $ 213.00


                                                                                                  K—a                                  8/25/2021
                                                                                              Denorris Britt
                                                                                              Contracted by Nationwide Legal, LLC
                                                                                              901 W. Civic Center Drive, Suite# 190
                                                                                              Santa Ana, CA 92703
                                                                                              (714) 558-2400            7

                                                                                                                                  _
                                                                                                                                      Order #:0069044
                                                                                                                          Their File Salas v. Statebridge




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                                                                              Fulton   49 Superior Court
                                                                                     County
                                                                                                                                              ***EFILED***AR
                                                                                                                                      Date: 9/8/2021 1:08 PM
               "g                                                AFFIDAVIT OF SERVICE                                               Cathelene Robinson, Clerk

                                                   IN   THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                                                          136 PRYOR     STREET, Room c-103. ATLANTA, GEORGIA 30303


          Marie Salas                                                                           Case No.:2021CV353274
                                                                                                Alexander Cyclone Covey, Esq. 190747
                                   Plaintiff(s)                                                 KNEUPPER         &    COVEY PC
                           v.                                                                   4475 Peachtree Lakes Dr
                                                                                                Berkeley Lake, GA 30096
          Statebridge Company, LLC, et al.                                                      (678) 596-6008

                                   Defendant(s)
                                                                                                Client File# Salas v. Statebridge

                    The undersigned, being ﬁrst duly sworn on oath deposes and says: That he/she is now and at all times herein mentioned was a
         citizen of the United States, over the age of eighteen years, not a party to or interested in the above entitled action and competent to
         be a witness therein.

                   That on 9/1/2021 at 12:50 PM at the address of 289 S Culver St, Lawrenceville, within Gwinnett County, GA, the undersigned
         duly sewed the following document(s): Summons; Addendum to Summons; Veriﬁed Complaint for Damages
                                                                                                                         & Equitable Relief;
         General Civil and Domestic Relations Case Filing Information Form in the above entitled action upon Alan Investments III LLC,
         by then and there personally delivering true and correct set(s) of the above documents into the hands of
                                                                                                                  and leaving same with
         National Registered Agents, Inc., Registered Agent - By serving Linda Banks, Intake Specialist.

                                                                                                            135 Hair: White
         Physical description of person served: Gender: Female Race: Caucasian Age: 65 Height: 5'3" Weight:
                                                                    |                  |         I                |          |




         I declare under penalty   of perjury under the laws of the state of that the foregoing is   true and correct.




    That the fee for this Service is $ 233.00



                                                                                              Frank James                             9/2/2021(
                                                                                              Contracted by Nationwide Legal, LLC
                                                                                              901 W. Civic Center Drive, Suite# I90
                                                                                              Santa Ana, CA 92703
                                                                                                                                      Order #:OC69045
                                                                                              (714) 558-2400
                                                                                                                          Their File Salas v. Statebridge




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                                                                                  43 of County
                                                                                        49     Superior Court
                                                                                                                                            ***EFILED***AR
                                                                                                                                    Date: 9/8/2021 1:08 PM
                                                               AFFIDAVIT OF SERVICE                                               Cathelene Robinson, Clerk

                                               IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                                                 136 PRYOR STREET, ROOM 0-103, ATLANTA, GEORGIA 30303


         Marie Salas                                                                          Case No.:2021CV353274
                                                                                              Alexander Cyclone Covey, Esq. 190747
                                Plaintifﬂs)                                                   KNEUPPER & COVEY PC
                                                                                              4475 Peachtree Lakes Dr
                                                                                              Berkeley Lake, GA 30096
         Statebridge Company, LLC, et al.                                                     (678) 596-6008

                                Defendant(s)                                                  Client FiIe# Salas v. Statebridge

                   The undersigned, being ﬁrst duly sworn on oath deposes and says: That he/she is now and at all times herein mentioned was a
        citizen of the United States, over the age of eighteen years, not a party to or interested in the above entitled action and competent to
        be a witness therein.
                  That on 8/26/2021 at 3:10 PM at the address of 9040 Roswell Rd Ste 500, Atlanta, Within Fulton County, GA, the undersigned
        duly served the following document(s): Summons; Addendum to Summons; Veriﬁed Complaint for Damages
                                                                                                                        & Equitable Relief;
        General Civil and Domestic Relations Case Filing Information Form in the above entitled action upon Statebridge Company, LLC,
                                                                                                                             same with Incorp
        by then and there personally delivering true and correct set(s) of the above documents into the hands of and leaving
                                   -
        Services, Registered Agent By serving    Marisa Evans,  Intake  Specialist.

                                                                                                                      Blonde
         Physical description of person served: Gender: Female Race: Caucasian Age: 30 Height: 5'6" Weight: 135 Hair:
                                                                  [                  |          l             |          |




         I declare under penalty of perjury under the laws of the state of that the foregoing is true and correct.




    That the fee for this Service is $ 213.00




                                                                                            Frank James
                                                                                            Contracted by Nationwide Legal, LLC
                                                                                                                                           /
                                                                                            901 W. Civic Center Drive, Suite# 190
                                                                                            Santa Ana, CA 92703
                                                                                            (714) 558-2400                        Order #:OC69042
                                                                                                                             Their File Salas v. Statebridge




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                 EXHIBIT “B”
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                 EXHIBIT “C”
      Case 1:21-cv-03959-SDG-JCF Document 1-1 Filed 09/24/21 Page 47 of 49




                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

 MARIE SALAS,                                           )
                                                        )
         Plaintiff,                                     )     CIVIL ACTION FILE
                                                        )
 v.                                                     )     NO. 2021CV353274
                                                        )
 STATEBRIDGE COMPANY, LLC,                              )
 RVFM 11 SERIES, LLC,                                   )
 ALAN INVESTMENTS III LLC,                              )
 VISION PROPERTY MANAGEMENT,                            )
 LLC, and DSV SPV3, LLC,                                )
                                                        )
         Defendants.                                    )

                  NOTICE OF FILING REMOVAL TO FEDERAL COURT

TO:    Clerk, Fulton County Superior Court
       Lewis R. Slaton Courthouse
       136 Pryor Street, Suite C155
       Atlanta, Georgia 30303

       Marie Salas
       c/o A. Cyclone Covey
       Kneupper & Covey, PC
       4475 Peachtree Lakes Dr.
       Berkeley Lake, GA 30096

       PLEASE TAKE NOTICE, that, pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446,

Defendants Statebridge Company, LLC (“Statebridge”) and DSV SPV3, LLC (“DSV”), removed

the above-captioned matter to Federal Court by filing a Notice of Removal (the “Notice of

Removal”) on February 6, 2020, in the United States District Court for the Northern District of

Georgia, Atlanta Division. Pursuant to 28 U.S.C. § 1446(d), “the State court shall proceed no

further unless and until the case is remanded.”    A true and correct copy of the Notice of




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       Case 1:21-cv-03959-SDG-JCF Document 1-1 Filed 09/24/21 Page 48 of 49




Removal without attachments is being served with this Notice and is attached hereto as Exhibit

“A”.

Dated: September 24, 2021                                 /s/ Christopher J. Reading
                                                          Dallas R. Ivey
                                                          Georgia Bar No. 385145
                                                          Christopher J. Reading
                                                          Georgia Bar No. 141761

Aldridge Pite, LLP
3575 Piedmont Road NE
Fifteen Piedmont Center, Suite 500
Atlanta, Georgia 30305
(404) 994-7460 (Telephone)
(888) 387-6828 (Fax)
creading@aldridgepite.com

Counsel for Defendants Statebridge Company, LLC
and DSV SPV3, LLC




                                              -2-
     Case 1:21-cv-03959-SDG-JCF Document 1-1 Filed 09/24/21 Page 49 of 49




                                 CERTIFICATE OF SERVICE

       This is to certify that I have served opposing counsel with a copy of the foregoing

NOTICE OF FILING REMOVAL TO FEDERAL COURT using the Odyssey e-File GA system,

which automatically send email notification of such filing to all attorneys of record.


               This the 24th day of September, 2021.

                                                      /s/ Christopher J. Reading
                                                      Christopher J. Reading
                                                      Georgia Bar No. 141761
                                                      Dallas R. Ivey
                                                      Georgia Bar No. 385145

ALDRIDGE │PITE, LLP
Fifteen Piedmont Center
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Phone: (404) 994-7460
Fax: (888) 344-9628
creading@aldridgepite.com
